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       AO 133        (Rev. 12/09) Bill of Costs


                                                 UNITED STATES DISTRICT COURT
                                                                                             for the
                                                                      Southern District
                                                                    __________ District of
                                                                                        of Indiana
                                                                                            __________
                             JOHN M. KLUGE                                                       )
                                                                                                 )
                                          v.                                                     )         Case No.: 1:19-cv-2462-JMS-DLP
          BROWNSBURG COMMUNITY SCHOOL                                                            )
                 CORPORATION
                                                                                                 )

                                                            AMENDED BILL OF COSTS
Judgment having been entered in the above entitled action on                                         07/12/2021                  against         Plaintiff                                ,
                                                                                                            Date
the Clerk is requested to tax the following as costs:

Fees of the Clerk . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           $

Fees for service of summons and subpoena . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for printed or electronically recorded transcripts necessarily obtained for use in the case . . . . . .                                                                 2,926.55
Fees and disbursements for printing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for witnesses (itemize on page two) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     0.00

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

Docket fees under 28 U.S.C. 1923 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Costs as shown on Mandate of Court of Appeals . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of court-appointed experts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 . . . . .
Other costs (please itemize) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                               TOTAL            $               2,926.55

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

                                                                                        Declaration
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:
         ✔
         ’          Electronic service                                    ’         First class mail, postage prepaid
         ’          Other:
             s/ Attorney:             Brent R. Borg
                          Name of Attorney: Brent R. Borg
For:                       BROWNSBURG COMMUNITY SCHOOL CORPORATION                                                                                   Date:       July 19, 2021
                                                             Name of Claiming Party

                                                                                   Taxation of Costs
Costs are taxed in the amount of                       $2,926.55                                                                                         and included in the judgment.

                                                                                   By:                                                                              08/06/2021
                           Clerk of Court                                                                       Deputy Clerk                                             Date
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   AO 133 (Rev. 12/09) Bill of Costs

                                   UNITED STATES DISTRICT COURT
                                  Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)
                                                                   ATTENDANCE           SUBSISTENCE            MILEAGE
                                                                                                                                      Total Cost
        NAME , CITY AND STATE OF RESIDENCE                                    Total               Total                Total         Each Witness
                                                                   Days       Cost      Days      Cost      Miles      Cost


                                                                                                                                              $0.00



                                                                                                                                              $0.00


                                                                                                                                              $0.00


                                                                                                                                              $0.00



                                                                                                                                              $0.00



                                                                                                                                              $0.00


                                                                                                                  TOTAL                       $0.00


                                                                    NOTICE

Section 1924, Title 28, U.S. Code (effective September 1, 1948) provides:
“Sec. 1924. Verification of bill of costs.”
    “Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an affidavit, made by himself or by
his duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
that the services for which fees have been charged were actually and necessarily performed.”

See also Section 1920 of Title 28, which reads in part as follows:
    “A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree.”

The Federal Rules of Civil Procedure contain the following provisions:
RULE 54(d)(1)
Costs Other than Attorneys’ Fees.
    Unless a federal statute, these rules, or a court order provides otherwise, costs — other than attorney's fees — should be allowed to the
prevailing party. But costs against the United States, its officers, and its agencies may be imposed only to the extent allowed by law. The clerk
may tax costs on 14 day's notice. On motion served within the next 7 days, the court may review the clerk's action.

RULE 6
(d) Additional Time After Certain Kinds of Service.

    When a party may or must act within a specified time after service and service is made under Rule5(b)(2)(C), (D), (E), or (F), 3 days are
added after the period would otherwise expire under Rule 6(a).
RULE 58(e)
Cost or Fee Awards:
     Ordinarily, the entry of judgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fees. But if a
timely motion for attorney's fees is made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become
effective to order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.
